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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF IOWA


IN RE:                                                                        Chapter 7 Bankruptcy
                                                                               Case No. 18-01721
CLAUDIA OSIRIS LINDEMAN,
                                                                                        ORDER
                  Debtor.


         The matter before the Court is a Consent Motion to Extend Time to Object to

Exemptions. The Motion recites that the Debtor consents to the relief requested. IT IS

THEREFORE ORDERED, the Trustee and only the Trustee, is hereby granted through

and including June 7, 2019, to object to the exemptions claimed by the Debtor.

         DATED AND ENTERED:                       April 1, 2019                     .




                                                        Thad J. Collins, Chief Bankruptcy Judge
                                                        U.S. Bankruptcy Court, Northern District of Iowa
ORDER PREPARED BY:
Eric W. Lam, AT0004416
Attorney for Trustee
RHTE Lindeman/Pldgs/BA 18-01721 Drafts/Order re Mtn to Extend Time to Obj to Exemption.032919.222p.ewl
